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                                            #309


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                            )
                                                     )
                Plaintiff,                           )
                                                     )
v.                                                   )          Case No. 09-CR-30159-MJR
                                                     )
DEMPSEY IVERY,                                       )
                                                     )
                Defendant.                           )

                                               ORDER

REAGAN, District Judge:

        The Court DENIES Ivery’s motion for leave to file his suppression motion (Doc. 127). The

deadline for pretrial motions for Ivery, which would include a motion to suppress, was set to 21 days

after his arraignment. (Doc. 52.) See Fed. R. Crim. P. 12(b)(3), (c), (e) (noting that motions to

suppress must be raised before trial and allowing the Court to set a deadline after which pretrial

issues not raised are waived). Ivery was arraigned on December 16, 2009, meaning that a motion to

suppress was due on January 6, 2010.

        The Court may relieve a party from the failure to raise a pretrial issue by the Court’s deadline

for good cause. See R. 12(e); United States v. Garcia, 528 F.3d 481, 484 (7th Cir. 2008). The only reason

that Ivery seeks leave to file the suppression motion was that the United States gave a formal notice

last week of its intent to introduce the evidence sought to be suppressed. See Fed. R. Evid. 404(b)

(requiring the prosecution to give reasonable notice of its intent to introduce evidence of other

crimes, wrongs or acts). This does not excuse the tardiness in filing the suppression motion. The

evidence that he seeks to suppress was actually disclosed to him on December 21, 2009. That was

more than six months ago. Ivery has not demonstrated good cause. Cf. Garcia, 528 F.3d at 485

(noting that good cause was not shown when counsel, who had substituted for another counsel four

months ago, filed late pretrial motions when an extension could have easily been requested earlier).
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If Ivery needed more time to go through the discovery in order to prepare a suppression motion, he

should have asked for it much earlier than the eve of trial.

        Because the Court denies leave to file the suppression motion, it also DENIES Ivery’s

suppression motion as untimely (Doc. 128).

        IT IS SO ORDERED.

        DATED July 2, 2010.



                                                        s/ Michael J. Reagan
                                                        MICHAEL J. REAGAN
                                                        United States District Judge




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